              UNITED STATES COURT OF INTERNATIONAL TRADE
__________________________________________
                                           :
KINGTOM ALUMINIO S.R.L.,                   :
                                           :
                  Plaintiff,               : Before: Richard K. Eaton, Judge
                                           :
      v.                                   : Court No. 22-00072
                                           :
UNITED STATES,                             :
                                           :
                  Defendant.               :
__________________________________________:

__________________________________________
                                          :
INDUSTRIAL FELICIANO ALUMINUM, INC., :
J.L. TRADING CORP., AND PUERTAS Y         :
VENTANAS, JM, INC.,                       :
                                          :
                  Plaintiffs,             :                Before: Richard K. Eaton, Judge
                                          :
       v.                                 :                Court No. 22-00075
                                          :
UNITED STATES,                            :
                                          :
                  Defendant.              :
__________________________________________:

                                            ORDER

       Before the court are the consent motions to consolidate the above-captioned cases under

Court No. 22-00072 of Kingtom Aluminio S.r.L., Plaintiff in Court No. 22-00072, ECF No. 12,

and by Industrial Feliciano Aluminum, Inc., J.L. Trading Corp., and Puertas y Ventanas, JM, Inc.,

Plaintiffs in Court No. 22-00075, ECF No. 13. Upon consideration of the motion, and all other

pertinent papers, it is hereby

       ORDERED that the motions are granted; and it is further

       ORDERED that Court No. 22-00072 and Court No. 22-00075 are consolidated under the
Court Nos. 22-00072, 22-00075
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lead case, Court No. 22-00072.



                                 /s/ Richard K. Eaton
                                        Judge


Dated: April 29, 2022
       New York, New York
